                                                                         Case 2:15-cv-03378-JFW-MRW Document 322-11 Filed 01/06/17 Page 1 of 3 Page ID
                                                                                                          #:22095


                                                                           1   BERTRAM FIELDS (SBN 024199)
                                                                               BFields@ggfirm.com
                                                                           2   RICARDO P. CESTERO (SBN 203230)
                                                                               RCestero@GreenbergGlusker.com
                                                                           3   JAMES R. MOLEN (SBN 260269)
                                                                               JMolen@GreenbergGlusker.com
                                                                           4   GREENBERG GLUSKER FIELDS
                                                                                CLAMAN & MACHTINGER LLP
                                                                           5   1900 Avenue of the Stars, 21st Floor
                                                                               Los Angeles, California 90067-4590
                                                                           6   Telephone: 310.553.3610
                                                                               Fax: 310.553.0687
                                                                           7
                                                                               Attorneys for Plaintiffs
                                                                           8   Golden Boy Promotions, LLC, Golden Boy
                                                                               Promotions, Inc. and Bernard Hopkins
                                                                           9
                                                                                                             UNITED STATES DISTRICT COURT
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GREENBERG GLUSKER FIELDS CLAMAN




                                                                                                            CENTRAL DISTRICT OF CALIFORNIA
                                                                          11
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                          12   GOLDEN BOY PROMOTIONS, LLC,                 Case No. 2:15-cv-03378 JFW (MRWx)
       & MACHTINGER LLP




                                                                               GOLDEN BOY PROMOTIONS, INC.
                                                                          13   and BERNARD HOPKINS,                        Assigned to Hon. John F. Walter
                                                                          14                           Plaintiffs,         DECLARATION OF ELIZABETH
                                                                                                                           SBARDELLATI IN SUPPORT OF
                                                                          15            v.                                 PLAINTIFFS’ OPPOSITION TO
                                                                                                                           DEFENDANTS’ MOTION IN
                                                                          16   ALAN HAYMON, ALAN HAYMON                    LIMINE NO. 1 TO EXCLUDE THE
                                                                               DEVELOPMENT, INC., HAYMON                   TESTIMONY OF GENE DEETZ
                                                                          17   HOLDINGS, LLC, HAYMON
                                                                               SPORTS, LLC, HAYMON BOXING                  [Defendants’ Motion in Limine No. 1
                                                                          18   MANAGEMENT, HAYMON                          and Declaration of Adam Wolfson filed
                                                                               BOXING LLC, and RYAN                        concurrently herewith]
                                                                          19   CALDWELL,
                                                                                                                           Complaint Filed: May 5, 2015
                                                                          20                           Defendants.
                                                                                                                           SAC Filed: January 20, 2016
                                                                          21                                               Final Pre-Trial Conference:
                                                                                                                           January 20, 2017
                                                                          22
                                                                                                                           Hearing on Motions in Limine:
                                                                          23                                               February 10, 2017
                                                                                                                           Trial: March 14, 2017
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                                                                                                                                  DECLARATION OF SBARDELLATI ISO
                                                                               17896-00617/2734819.1                                    PLAINTIFFS’ OPPOSITION TO
                                                                                                                                DEFENDANTS’ MOTION IN LIMINE NO. 1
                                                                         Case 2:15-cv-03378-JFW-MRW Document 322-11 Filed 01/06/17 Page 2 of 3 Page ID
                                                                                                          #:22096


                                                                           1                           DECLARATION OF ELIZABETH SBARDELLATI
                                                                           2
                                                                                        I, Elizabeth Sbardellati, declare as follows:
                                                                           3
                                                                                        1.        I am a member of the bar of the State of California, and an associate at
                                                                           4
                                                                               Greenberg Glusker Fields Claman and Machtinger LLP, attorneys for Plaintiffs
                                                                           5
                                                                               Golden Boy Promotions, Inc., Golden Boy Promotions LLC, and Bernard Hopkins
                                                                           6
                                                                               (“Plaintiffs”).
                                                                           7
                                                                                        2.        I submit this declaration in support of Plaintiffs’ Opposition to
                                                                           8
                                                                               Defendants’ Motion in Limine No. 1 to Exclude the Testimony of Gene Deetz. I
                                                                           9
                                                                               make this declaration of personal, firsthand knowledge, and if called and sworn as a
                                                                          10
                                                                               witness, I could and would testify as set forth below.
GREENBERG GLUSKER FIELDS CLAMAN




                                                                          11
                                                                                        3.        Attached hereto as Exhibit 1 are true and correct copies of relevant
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                          12
                                                                               pages from the Expert Report of Robert Kneuper, Ph.D., dated September 6, 2016
       & MACHTINGER LLP




                                                                          13
                                                                               (“Kneuper Report”).
                                                                          14
                                                                                        4.        Attached hereto as Exhibit 2 are true and correct copies of relevant
                                                                          15
                                                                               pages from the Expert Report of Gene Deetz, dated September 6, 2016 (“Deetz
                                                                          16
                                                                               Report”).
                                                                          17
                                                                                        5.        Attached hereto as Exhibit 3 is a true and correct copy of Exhibit 3 to
                                                                          18
                                                                               the Expert Report of Gene Deetz, as revised and produced to Defendants on
                                                                          19
                                                                               October 18, 2016 (“Exhibit 3 (Revised)”).
                                                                          20
                                                                                        6.        Attached hereto as Exhibit 4 are true and correct copies of relevant
                                                                          21
                                                                               pages from the Expert Report of Michael P. Smith, Ph.D., dated September 27,
                                                                          22
                                                                               2016 (“Smith Report”).
                                                                          23
                                                                                        7.        Attached hereto as Exhibit 5 are true and correct copies of excerpts
                                                                          24
                                                                               from the October 19, 2016 deposition of Gene Deetz (“Deetz Depo.”).
                                                                          25
                                                                                        8.        Attached hereto as Exhibit 6 are true and correct copies of excerpts
                                                                          26
                                                                               from the September 28, 2016 deposition of Roberto Diaz (“Diaz Depo.”)
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                                                                                                                                         DECLARATION OF SBARDELLATI ISO
                                                                               17896-00617/2734819.1                           2               PLAINTIFFS’ OPPOSITION TO
                                                                                                                                       DEFENDANTS’ MOTION IN LIMINE NO. 1
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                                                                                                          #:22097


                                                                           1            9.        Attached hereto as Exhibit 7 are true and correct copies of excerpts
                                                                           2   from the September 22, 2016 deposition of Eric Gomez (“Gomez Depo.”).
                                                                           3            10.       Attached hereto as Exhibit 8 are true and correct copies of excerpts
                                                                           4   from the September 23, 2016 deposition of Oscar De La Hoya (“De La Hoya
                                                                           5   Depo.”).
                                                                           6            11.       Attached hereto as Exhibit 9 are true and correct copies of excerpts
                                                                           7   from the October 21, 2016 deposition of Robert Kneuper, Ph.D. (“Kneuper
                                                                           8   Depo.”).
                                                                           9            12.       Attached hereto as Exhibit 10 are true and correct copies of excerpts
                                                                          10   from the September 30, 2016 deposition of Michael P. Ring (“Ring Depo”).
GREENBERG GLUSKER FIELDS CLAMAN




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                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                          12            I declare under penalty of perjury under the laws of the United States of
       & MACHTINGER LLP




                                                                          13   America that the foregoing is true and correct.
                                                                          14
                                                                          15            Executed on this 5th day of January, 2017, at Los Angeles, California.
                                                                          16
                                                                          17                                                 /s/ Elizabeth Sbardellati
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                                                                                                                                        DECLARATION OF SBARDELLATI ISO
                                                                               17896-00617/2734819.1                          3               PLAINTIFFS’ OPPOSITION TO
                                                                                                                                      DEFENDANTS’ MOTION IN LIMINE NO. 1
